                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
v.                                              )   Case No. 20-03121-02-CR-S-MDH
                                                )
TYLER MARTIN,                                   )
                                                )
                      Defendant.                )

                                           ORDER

       Before the Court is the Government’s Motion to Dismiss the Indictment as to Defendant

Tyler Martin. (Doc. 36). The Government moves to dismiss Tyler Martin from the Indictment

returned by the Grand Jury in this case on November 17, 2020. The Motion is GRANTED and

the Indictment is hereby dismissed without prejudice.



IT IS SO ORDERED.

Dated: June 1, 2021                                       /s/ Douglas Harpool______
                                                         DOUGLAS HARPOOL
                                                         United States District Judge




         Case 6:20-cr-03121-MDH Document 37 Filed 06/01/21 Page 1 of 1
